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 6
                 UNITED STATES DISTRICT COURT
 7
                      DISTRICT OF NEVADA
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 9
     UNITED STATES OF AMERICA,                          )
10                                                      )   2:11-cr-00066-LDG-LRL
                            Plaintiff,                  )   2:11-cr-00067-ECR-LRL
11                                                      )
     VS.                                                )   MOTION TO CONSOLIDATE
12                                                      )
     ASHLEY FOYLE and                                   )
13   DAVID FREEMAN                                      )
                                                        )
14                          Defendant.                  )
                                                        )
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                     The United States, by Daniel G. Bogden, United States Attorney, and Crane M.
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     Pomerantz, Assistant United States Attorney, moves the Court to consolidate the above-captioned
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     cases under a single case number, preferably 2:11-cr-00066-LDG-LRL, as set forth below:
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                     1.     The defendants were charged in the Central District of California relating to
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     a joint scheme to import prescription drugs from India and subsequently sell them in the United
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     States. The two defendants are business partners and are alleged to have engaged in similar
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     conduct.
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                     2.     In mid-2010, as a courtesy to the defendants, prosecutors with the United
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     States Attorney’s Office in the Central District of California asked this office if it would be will
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     willing to accept a Rule 20 disposition of the cases in the District of Nevada. Thereafter, the
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 1   defendants, a representative of the United States Attorney’s Office in the Central District of

 2   California and United States Attorney Bogden signed a Consent to Transfer of Case for Plea and

 3   Sentence. In February 2011, the case was formally transferred to the District of Nevada so that the

 4   defendants could enter their pleas and be sentenced here.

 5                  3.      Several reasons justify consolidation. First, the cases against the two

 6   defendants emanate from the same conduct. Second, the District of Nevada has been assured that

 7   the cases have been negotiated and that no substantial issues at sentencing are anticipated (indeed,

 8   that is a condition of our agreement to accept transfer). Final disposition of these case should be

 9   achieved relatively quickly. As such, the United States submits that it is more efficient for a judge

10   based in Las Vegas (Judge George), as opposed to a judge based in Reno (Judge Reed), to preside

11   over these matters.

12                  4.      For all of the foregoing reasons, the United States respectfully requests that

13   the Court enter an Order consolidating these two cases under 2:11-CR-66-LDG-LRL.

14                          DATED this 11th day of March 2011.

15                                                                Respectfully submitted,
                                                                  DANIEL G. BOGDEN
16                                                                United States Attorney

17                                                                /s/ Crane Pomerantz
                                                                  CRANE M. POMERANTZ
18                                                                Assistant United States Attorney

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     So Ordered:
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21   ______________________
     United States District Judge
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23   _______
     Date
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